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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


BLACK LIVES MATTER D.C., et al.           )
                                          )
            Plaintiffs,                   )
                                          )
      v.                                  )      Case No.: 1:20-cv-01469-DLF
                                          )
DONALD J. TRUMP, et al.,                  )
                                          )
            Defendants.                   )
____________________________________      )


BRIEF OF FEDERAL COURTS SCHOLARS AS AMICI CURIAE IN OPPOSITION TO
               DEFENDANT BARR’S MOTION TO DISMISS


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                               INTEREST OF AMICI CURIAE1

       Amici are scholars whose research and teaching focus on federal courts, remedies, and the

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1
  No counsel for any party authored this brief in whole or in part, and no person or entity other
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or submission.

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of Texas School of Law. He has written extensively on government accountability, and Bivens

remedies in particular, and has argued three cases before the U.S. Supreme Court, including

Hernández v. Mesa, 140 S. Ct. 735 (2020). He is an elected member of the American Law Institute,

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casebooks; he has served as chair of the Association of American Law Schools Section on Federal

Courts; and he teaches Federal Courts and constitutional law, among other courses.

       Amici write to provide relevant historical background and context about the common law

roots of the Bivens remedy for violations of the Constitution by federal officers. Far from a novel

form of relief, the Bivens remedy reflects a long tradition of providing compensatory damages to

parties injured by unconstitutional acts of federal officials. At the founding, common law damages

remedies were routinely available to redress such official misconduct. These non-statutory

remedies were made available not only by state law, but also—until Erie Railroad Co. v. Tompkins,

304 U.S. 64 (1938)—by general common law developed in federal courts. Viewed against this

historical backdrop, Bivens is best understood not as creating a novel non-statutory remedy, but as

confirming an existing one within federal law, alongside state torts.

                   INTRODUCTION AND SUMMARY OF ARGUMENT

       Plaintiffs are Black Lives Matter D.C. and several individual demonstrators, representing

a putative class of protesters who gathered peacefully in Lafayette Square on June 1, 2020, to

protest “systemic injustices perpetrated by law enforcement against Black people in the United

States, exemplified by the recent brutal murders of George Floyd and Breonna Taylor.” Third Am.

Compl., Dkt. No. 52, ¶ 3 (Sep. 3, 2020). They claim, inter alia, that federal officers violated their

rights under the First and Fourth Amendments when the officers used excessive force to clear the

square and dispersed the protest without provocation and for no legitimate reason. See id. ¶¶ 220-

230. Plaintiffs allege that Defendant William Barr, the Attorney General, “personally ordered law

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enforcement officers to forcibly remove Plaintiffs and other class members from Lafayette Square

and its vicinity,” Id. ¶ 202, and seek damages for their resulting injuries under Bivens.

       In arguing that this Court should dismiss the Bivens claim against him, Defendant Barr

describes Bivens as a “disfavored extra-statutory remedy” that should not be extended to the novel

context of actions taken ostensibly to protect presidential security, due to the national security

implications of such cases. See Def. Barr’s Mot. to Dismiss, Dkt. No. 76, at 6–10 (Oct. 1, 2020)

(“Mot. to Dismiss”). Although the Supreme Court has explained that expansion of Bivens is

“disfavored,” Ziglar v. Abbasi, 137 S. Ct. 1843, 1857 (2017), there is no reason to withhold Bivens

remedies here. Amici agree with Plaintiffs that Defendant Barr’s arguments fail under the two-step

analytical approach set forth in the Supreme Court’s cases. See Pls.’ Opp’n to Mot. to Dismiss,

Dkt. No. 98, at 40–54 (Nov. 19, 2020) (“Pls.’ Opp’n”). Amici write separately, however, to

emphasize that from the vantage point of the early Republic, there was nothing exceptional or

disfavored about extra-statutory remedies to redress federal officers’ violation of the Constitution.

To the contrary, in the common law tradition that preceded Bivens, federal courts routinely

evaluated whether federal officials violated the law and, if so, remedied that harm by awarding

damages. What’s more, courts frequently did so in contexts that unquestionably implicated

national security, far beyond the tenuous connection between national security and policing

protests in the District of Columbia asserted by Defendant Barr under the banner of “presidential

security.”

       English common law in the colonial era recognized personal liability for public officials

who committed tortious acts against citizens in the course of their duties—often including claims

for use of excessive force during searches and seizures. This common law tradition was embraced

by American courts in the founding era, and federal officers were not infrequently subject to tort



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liability in state and federal courts for official acts that were contrary to the Constitution. Customs

collectors who insisted on payment of duties that were not due, postal officials who prosecuted

crimes that did not occur, and military officers who seized vessels that could not lawfully be taken

were all subject to personal liability under common law—that is, non-statutory—causes of action.

Congress sometimes, but not always, indemnified officers against these judgments. And this

indemnification practice, which turned on case-specific questions of who should pay and why,

nowhere questioned the courts’ authority to award damages against officers. Rather,

indemnification reflected Congress’s endorsement of the use of the courts to hold federal officers

accountable through the imposition of damages remedies. Courts left it to Congress to determine

if an officer should pay out of personal funds, or if Congress would foot the bill. But both branches

accepted the courts’ role in determining whether the officer had violated the law, and if so, the

quantum of damages due the injured party.

           This robust framework for officer liability applied, moreover, to officer misconduct

occurring during armed conflict, and where sensitive diplomatic relationships were involved. For

example, and in stark contrast to Defendant Barr’s conception of courts as wholly unsuited to

evaluate a damages remedy so long as a defendant invokes “national security,” see Mot. to Dismiss

at 13–14, the Supreme Court did not balk at deciding whether a military officer’s order, during an

active military campaign in Mexico, violated a merchant’s property rights—despite arguments that

such a determination risked interfering with the commander’s exercise of discretion in military

affairs.

           Before the decision in Erie, courts did not always clearly identify the source of liability for

the unconstitutional acts of federal officers. But such cases did not unambiguously and exclusively

involve state law remedies. It was only after Erie that courts were more apt to refer to such liability



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as arising under state or local law.

       Bivens was decided against the backdrop of this common law tradition. Because tort suits

alleging that federal officers committed constitutional violations would otherwise have their sole

basis in state law after Erie, the Bivens Court was faced with the question of whether a remedy for

unconstitutional conduct ought also to be understood to arise out of federal law, given the interests

involved. Although, after Erie, the recognition of new federal causes of action without statutory

authority was disfavored, that did not prevent the Bivens Court from confirming the existence of a

federal remedy. Given the importance of the interests involved, the Bivens Court re-situated pre-

existing damages remedies for unconstitutional conduct within federal law. Congress then brought

the transformation full circle in the Westfall Act, in which Congress preempted state tort remedies

against federal officers without narrowing the remedies available for constitutional violations. The

Act reflects Congress’s judgment that the common law remedies that previously existed to redress

constitutional violations by federal officials (whether under state or “general” common law) should

continue to be available in the form of a Bivens suit.

       The Bivens Court thus did not invent personal damages liability for federal officers. Far

from it. It merely reaffirmed the existence of a damages remedy that, in substance, has been

available since the founding, and even before. Moreover, that centuries-old remedy was long-

understood to reach conduct with national security implications. To decline to apply Bivens here

on account of asserted special factors that do not counsel hesitation and historically posed no bar

to relief would be a sharp break with centuries of law affording such a remedy.




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                                          ARGUMENT

BIVENS RESTS UPON A CENTURIES-OLD COMMON LAW FOUNDATION THAT
ROUTINELY RECOGNIZED A DAMAGES REMEDY AGAINST FEDERAL OFFICERS
WHO VIOLATED THE CONSTITUTION OR OTHER FEDERAL LAWS.

       A.      English Common Law Provided a Damages Remedy for Official Misconduct.

       In the colonial era, English common law provided rights of action against military and

government officials whose tortious conduct exceeded official authority. See Carlos M. Vázquez

& Stephen I. Vladeck, State Law, the Westfall Act, and the Nature of the Bivens Question, 161 U.

Pa. L. Rev. 509, 537–39 (2013) (describing relevant English common law torts); Louis L. Jaffe,

Suits Against Governments and Officers: Sovereign Immunity, 77 Harv. L. Rev. 1, 1–2 (1963)

(“From time immemorial many claims affecting the Crown could be pursued in the regular courts

if they did not take the form of a suit against the Crown.”). As reflected in a prominent treatise on

the British constitution, a key element of the British rule of law was “the right of individuals to

mount common-law claims against government officials, who were held personally accountable

for their actions unless able to justify them in accordance with the law of the land.” James E.

Pfander, Dicey’s Nightmare: An Essay on the Rule of Law, 107 Cal. L. Rev. 737, 744 (2019)

(describing A.V. Dicey, Introduction to the Study of the Law of the Constitution (10th ed. 1959)).

       For example, Entick v. Carrington, (1765) 95 Eng. Rep. 807 (KB)—a “monument of

English freedom” with which “every American statesmen, during our revolutionary and formative

period as a nation, was undoubtedly familiar,” Boyd v. United States, 116 U.S. 616, 626 (1886)—

was a trespass action seeking damages for an unlawful search and seizure. In that case, the King’s

Bench affirmed a damages judgment against the officials who conducted a search under the

authority of a general warrant that was held unlawful. Entick, 95 Eng. Rep. at 817–18. The case is

celebrated for its announcement of limits on searches, and for inspiring the Fourth Amendment,

Boyd, 116 U.S. at 625–27. It is not celebrated for recognizing a cause of action for official

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misconduct, because that was already entrenched by the pre-revolutionary period—and went

unquestioned in the 1765 decision, see Entick, 95 Eng. Rep. at 813, 815 (describing defendants’

arguments).

        There were several such cases in the pre-revolutionary period, providing remedies against

officers in their personal capacity for a variety of unlawful official acts. See, e.g., Wilkes v. Wood,

(1763) 98 Eng. Rep. 489 (KB) (trespass damages for search and seizure under authority of an

unlawful general warrant); Chambers v. Robinson, (1726) 93 Eng. Rep. 787 (KB) (damages

awarded for malicious prosecution). Of note, damages in these cases were awarded based not only

on harms such as physical injury and loss of wages, but also to remedy the injury to liberty caused

by the unauthorized or excessive use of official power. In Huckle v. Money, (1763) 95 Eng. Rep.

768 (KB), for example, a printer was awarded £300 in damages for trespass, assault, and

imprisonment after he was taken into custody for several hours by a King’s messenger on suspicion

of having printed an allegedly seditious pamphlet. Id. at 768. Rejecting the argument that damages

were excessive because the plaintiff was treated well and confined for only a few hours, the court

held the damages were justified because “it was a most daring public attack made upon the liberty

of the subject.” Id. at 769.

        During this period, as well, new torts evolved to redress harms that did not involve a

physical invasion of a plaintiff’s property or person (required for trespass), where the harm was

solely or primarily an infringement of an intangible liberty interest. One such tort that could be

committed by official misconduct was “action on the statute,” which permitted a plaintiff to sue

for damages “resulting from activity in violation of a legislatively created duty or standard.” Al

Katz, The Jurisprudence of Remedies: Constitutional Legality and the Law of Torts in Bell v.

Hood, 117 U. Pa. L. Rev. 1, 18 (1968). Although statutory remedies could be substituted for the



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common law tort when the statutes “themselves provided for damages recovery by injured

individuals,” Vázquez & Vladeck, supra, at 538, the common law tort was otherwise available to

recover for a breach of public statutory duty. See Ashby v. White, (1703) 92 Eng. Rep. 126, 136

(KB) (Holt, C.J., dissenting) (“Where a new Act of Parliament is made for the benefit of the

subject, if a man be hindered from the enjoyment of it, he shall have an action against such person

who so obstructed him.”); Katz, supra, at 25 (“The Chief Justice's dissenting opinion [in Ashby]

was accepted by the House of Lords, which reversed the King’s Bench and entered judgment for

the plaintiff.”).

        In short, the English common law that infused early American law embodied the principle

that English courts would generally make non-statutory remedies available to redress the harms

caused by English officers who acted outside the scope of the limits on their power.

        B.          In the Founding Era and Early Republic, Common Law Remedies Were
                    Available Against Federal Officers Who Violated the Constitution, Including
                    in Cases Implicating National Security.

        The English tradition of presumptive personal liability for official misconduct was

embraced in the early Republic. “From the beginning of the nation’s history, federal (and state)

officials have been subject to common law suits as if they were private individuals, just as English

officials were at the time of the Founding.” Vázquez & Vladeck, supra, at 531; see also James E.

Pfander, Constitutional Torts and the War on Terror 6 (2017). It was well-accepted in the Nation’s

earliest years that non-statutory remedies were available, in both state and federal courts, when a

federal official transgressed the Constitution or federal statutes while carrying out his official

duties. Congress did not perceive these remedies as intruding upon the legislative sphere; rather,

it exercised its legislative prerogative in deciding whether to indemnify the officer or not. Courts

did not shy from awarding damages even in cases involving the wartime conduct of military

officers, from ship seizures on the high seas to battlefield orders during a military campaign.

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                   1. There Was a Robust Tradition of Common Law Damages Remedies in the
                      Early Republic.

       In the early years of the Republic, citizens harmed by federal officers who acted outside

the constitutional or statutory limits on their authority recovered damages from a wide range of

federal officer defendants, including: from a federal postal official for a malicious prosecution,

Merriam v. Mitchell, 13 Me. 439 (1836); from federal customs agents for wrongful seizures of

vessels and their cargo, Gelston v. Hoyt, 16 U.S. (3 Wheat.) 246 (1818) (affirming New York state

court judgment); Imlay v. Sands, 1 Cai. 566 (N.Y. Sup. Ct. 1804); from a federal revenue collector

for demanding unlawful customs duties, Kidd v. Swartwout, 14 F. Cas. 457 (C.C.S.D.N.Y. 1843)

(No. 7,756); and from a federal military officer who attempted to collect a fine assessed by a court-

martial that did not possess jurisdiction over the plaintiff, Wise v. Withers, 7 U.S. (3 Cranch) 331,

337 (1806) (reversing denial of judgment for plaintiff in trespass action).2

       Courts in this era were not insensitive to the situation facing federal officers subject to

personal liability for acting in good-faith (but erroneous) reliance on federal law or instructions,

but they did not think such concerns could or should stop the courts from recognizing a damages

remedy. Rather, courts expected any such concerns to be addressed through the process of

indemnification. As a New York court explained, courts were “bound to pronounce the law as we

find it, and leave cases of hardship, where any exist, to legislative provision.” Imlay, 1 Cai. at 573;

see also Tracy v. Swartwout, 35 U.S. (10 Pet.) 80, 98–99 (1836) (upholding damages awarded

against federal revenue collector for demanding unlawful customs duty and noting that if “[s]ome

personal inconvenience may be experienced by an officer who shall be held responsible in damages



2
 These cases were sometimes resolved in state court, but they were also often heard in federal
court under diversity jurisdiction or through removal of cases involving federal officers. Vázquez
& Vladeck, supra, at 540. The first federal-officer removal statute (for a particular set of customs
officers) was enacted in 1815. Willingham v. Morgan, 395 U.S. 402, 405 (1969).

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for illegal acts done under instructions of a superior,” it could be remedied by indemnification).

       Congress, in turn, commonly granted officers’ petitions for indemnification when they had,

in fact, acted in good faith; but declined to do so when the officers’ acts were beyond the pale.

Congress thus made case-specific judgments about whether, once the courts determined liability,

the harms should be compensated from the U.S. Treasury or the officers’ pockets. See James E.

Pfander & Jonathan L. Hunt, Public Wrongs and Private Bills: Indemnification and Government

Accountability in the Early Republic, 85 N.Y.U. L. Rev. 1862, 1866–68 (2010).

       To seek indemnification, federal officers petitioned Congress for a private bill authorizing

payment of the judgment against them. Id. at 1888–91. A study of those petitions demonstrates

both the widespread acceptance of personal-liability damages judgments against federal officers

and the general rule that Congress would indemnify the officers—but not in every case. The study

identified nearly 70 cases of officers petitioning for indemnification or plaintiffs petitioning for

payment of a judgment between 1789 and 1860. Id. at 1904. The majority were “filed on behalf of

military officers who had been held legally responsible for some form of trespassory invasion: a

wrongful seizure of property or persons.” Id. The second most common category encompassed

judgments against federal revenue officers for trespass or conversion. Id. at 1905. The remaining

petitions involved judgments against federal postal officials and federal marshals, among others.

Id.3

       Most of the time (roughly 60%), indemnity was granted. Id. But where Congress

determined the federal officer had not acted in good faith in exceeding the bounds of his authority,

indemnity was denied. See id. at 1907 (quoting committee report denying indemnity and stating



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  The malicious prosecution judgment in Merriam v. Mitchell, 13 Me. 439 (1836), discussed above,
is one of the cases in which Congress indemnified a postal official. See Pfander & Hunt, supra, at
1908–09.

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that “it should not be the policy of the United States to screen their officers from making a just

remuneration for losses sustained by her citizens, when the acts of such officers are illegal, unjust,

and without palliating circumstances”).

       In sum, during the founding era and throughout the early republic, persons wronged by

federal officers who exceeded their statutory or constitutional authority could avail themselves of

the same tort remedies available against any other defendant. If courts found the official’s

misconduct violated the Constitution or federal statutes, they sustained damages awards, regardless

of the federal official’s good faith. Congress then decided whether the officer had acted in

circumstances that suggested the government should bear responsibility for the loss and, if so,

indemnified the officer. If not, the officer was responsible to pay for the harm caused by his

unlawful official conduct. Whether or not the government chose to indemnify, the courts’ role in

determining the legality of officer conduct, and awarding relief, went unquestioned.

       Concerns about the unfairness of imposing a damages judgment on individual officers thus

did not dissuade courts in the early republic from applying non-statutory remedies. In any event,

such concerns are further mitigated in the modern era because federal officials no longer need to

petition for private bills to be indemnified. Instead, the federal government generally represents

the officers in court and almost always pays any settlement or judgment in the case. See 28 C.F.R.

§ 50.15. Payment by the federal government is virtually guaranteed. A study of 171 cases

involving Bivens judgments against Bureau of Prisons officers revealed that the officer contributed

personal (or an insurer’s) funds to the judgment in only eight cases. James E. Pfander, Alexander

A. Reinert & Joanna C. Schwartz, The Myth of Personal Liability: Who Pays When Bivens Claims

Succeed, 72 Stan. L. Rev. 561, 566 (2020). Stated another way, “the federal government effectively

held its officers harmless in over 95% of the successful cases brought against them, and paid well



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over 99% of the compensation received by plaintiffs in these cases.” Id. This practice of routine

indemnification addresses any concern that “high officers who face personal liability for damages

might refrain from taking urgent and lawful action in a time of crisis.” See Ziglar, 137 S. Ct. at

1863.

                    2. Courts Commonly Judged the Lawfulness of Federal Officer Conduct in
                       Cases Implicating National Security.

        One of Defendant Barr’s primary arguments is that the Court should decline to apply

Bivens here because of “national security” concerns. See Mot. to Dismiss at 12–16. As Plaintiffs

argue, Pls.’ Opp’n at 48–50, merely asserting “national security” does not make it so. The Supreme

Court has cautioned that “national-security concerns must not become a talisman used to ward off

inconvenient claims—a ‘label’ used to ‘cover a multitude of sins.’” Ziglar, 137 S. Ct. at 1862

(quoting Mitchell v. Forsyth, 472 U.S. 511, 523 (1985)). And in that context, the Supreme Court

specifically rejected absolute immunity for the Attorney General’s “actions in furtherance of the

national security.” Mitchell, 472 U.S. at 520. Defendant Barr’s argument comes close to creating

the absolute immunity that the Supreme Court rejected, insofar as Defendant Barr effectively

contends that dismissal must follow whenever an official invokes “national security.” Such a rule

not only contravenes precedent, it would be flatly inconsistent with centuries of tradition.

Founding-era state and federal courts’ acceptance of tort suits against federal officers for violations

of the Constitution or federal law did not draw a sharp line at national security or military affairs,

even in cases that (unlike here) actually involved officers’ violation of plaintiffs’ rights in the midst

of military operations.

        A foundational case is Little v. Barreme, 6 U.S. (2 Cranch) 170 (1804) (Marshall, C.J.).

Captain Little was an officer in the U.S. Navy and a commander of a frigate during the Quasi-War

with France. Id. at 176. During that period, Congress enacted the Non-Intercourse Act, which


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authorized the seizure of any American vessel caught sailing to a French port (including ports in

French colonies). Id. at 177. The Secretary of the Navy issued instructions to Captain Little,

directing him to help enforce the Act; the instructions, moreover, told him to seize vessels traveling

“to or from” French ports. Id. at 178.

        Captain Little did as he was instructed and seized the Flying Fish, a vessel caught sailing

from a French port that appeared to be American. Id. at 176. Captain Little instituted forfeiture

proceedings in Boston and the Flying Fish’s owner counter-claimed for damages. Id. The Supreme

Court held that the seizure was unlawful. Id. at 177–78. It turned out that the vessel was not

American, and it fell outside the scope of the Act, regardless, because it was seized sailing from a

French port, rather than to one—despite the executive instructions that attempted to broaden the

authority to seize. Id.

        The primary question on appeal, though, was not the lawfulness of the seizure, but the

question of damages. Chief Justice Marshall “confess[ed]” that “the first bias of [his] mind was

very strong in favour of the opinion that though the instructions of the executive could not give a

right, they might yet excuse from damages.” Id. at 179. He considered whether the law ought to

draw a distinction on this question between military and civil officials in light of the obedience to

orders that is “indispensably necessary to every military system.” Id. But he became “convinced

that [he] was mistaken,” and agreed with the rest of the Court that “instructions cannot . . . legalize

an act which without those instructions would have been a plain trespass.” Id. Accordingly,

following orders was no defense, and Chief Justice Marshall concluded that Captain Little “must

be answerable in damages to the owner of this neutral vessel.” Id. Captain Little, in turn, sought

indemnification from Congress, which granted his petition. Act for the Relief of George Little,

Priv. L. No. 09-02, ch. 4, 6 Stat. 63 (1807).



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       Little is but one of several cases from the late 18th and early 19th centuries where the

Supreme Court affirmed a damages award resulting from unlawful seizure of a vessel by a naval

officer who judged that seizure necessary for security. See, e.g., Maley v. Shattuck, 7 U.S. (3

Cranch) 458 (1806) (upholding award of damages against U.S. naval officer for unlawful seizure

of vessel when it was entering a Haitian port); Murray v. Schooner Charming Betsy, 6 U.S. (2

Cranch) 64 (1804) (same for vessel seized near Martinique).

       Other cases decided by the Supreme Court required the evaluation of judgments made

during the heat of a military campaign. For example, in Mitchell v. Harmony, 54 U.S. (13 How.)

115 (1851), the Court affirmed a damages judgment exceeding $90,000 against a U.S. Army

officer, Colonel Mitchell, for the forcible taking of the plaintiff’s property and for compelling the

plaintiff to travel with the army during parts of a campaign in the Mexican-American war. The

plaintiff was a merchant who had set out on a trading expedition to Mexico before the declaration

of war. Id. at 129. At first, he and other merchants followed behind army lines as troops invaded

Mexican territories and traded in areas that had become occupied by U.S. forces. Id. But when the

army reached the town of San Elisario, the trader wanted to leave rather than continue on the

dangerous expedition to Chihuahua. Id. The commander of the campaign determined that the trader

needed to stay to “prevent the property from falling into the hands of the enemy.” Id. at 129, 132.

He gave an order to this effect to Colonel Mitchell, who executed the order; “and the plaintiff was

forced, against his will, to accompany the American forces with his wagons, mules and goods, in

that hazardous expedition.” Id. at 129.

       The trader’s fears proved justified, and due to various events thereafter, his property was

destroyed or lost. Id. at 130. The trader sued for trespass, and the jury determined that no danger

or necessity existed to justify the seizure. Id. at 133–34. On appeal, the Supreme Court held that



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the jury had been properly instructed that danger or necessity was required to justify the seizure

and affirmed the damages judgment. Id. at 134, 136. The Court rejected the defendant officer’s

argument that “an expedition into the enemy’s country” with “dangers that . . . cannot always be

foreseen” required the court to entrust the commander “with some discretionary power” and

absolve him of liability if “he acts honestly, and to the best of his judgment.” Id. at 134. The Court

explained that the officer’s reasonableness could be relevant to indemnification, but the plaintiff

was nonetheless entitled to damages because the seizure was unlawful. Id. at 134–35.

        And Mitchell was but one of several cases to make it to the Supreme Court in which

military officers were subject to liability for official acts that infringed on plaintiffs’ rights. See,

e.g., Bates v. Clark, 95 U.S. 204 (1877) (holding personally liable military officials who followed

orders and wrongly seized private property they mistakenly believed was within Indian country);

Wise, 7 U.S. at 337; Maley, 7 U.S. at 490; Little, 6 U.S. at 179. There were many other cases in

lower courts where military officers were subject to damages judgments—sometimes very large

ones—for the unlawful seizure and arrest of citizens. See Pfander, Dicey’s Nightmare, supra, at

754–55 (collecting cases). For example, two military officers were subject to a damages award

totaling over $12,000 (in 1810s dollars) for seizing and holding nine Americans during the War of

1812 based on a revenue collector’s allegation that the nine had engaged in treasonable practices.

See id. Upon application for a private bill, Congress indemnified the officers. Id.

        As these cases show, the jurists in the generation that framed the Constitution did not

hesitate to meet their judicial obligation to determine what the law required when federal officers

infringed on liberty or property rights in the course of military operations. Confident in the courts’

ability—indeed, duty—to determine the law, they rejected the idea that declaring whether a

military commander had infringed a person’s rights risks undue supervision of “the discretion he



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may exercise in his military operations,” Mitchell, 54 U.S. at 134, and likewise dismissed the

suggestion that military officers should be exempt from damages to avoid undermining their ability

to perform duties essential to national security, Little, 6 U.S. at 179.

       C.      By Expressly Recognizing a Federal Law Basis for these Remedies, Bivens
               Continued the Common Law Tradition.

                   1. Before Erie, Non-Statutory Damages Remedies against Federal Officers
                      Were Not Understood to Derive Solely from State Law.

       In the early years of recognizing non-statutory, common law damages remedies for federal

constitutional violations, federal courts did not always expressly situate those remedies in state or

federal law, instead referring to the officer as being liable in “‘tort,’ or under the ‘general law’ or

‘common law.’” Alfred Hill, Constitutional Remedies, 69 Colum. L. Rev. 1109, 1124 & nn.59–63

(1969) (footnotes omitted) (collecting cases). This lack of focus on the source of liability was

unsurprising in the era before Erie, when federal courts understood their role as discovering “a

body of principles … through the exercise of reason,” Larry Kramer, The Lawmaking Power of

the Federal Courts, 12 Pace L. Rev. 263, 281 (1992), and believed there to be a body of general

law that federal courts could adduce that was “not at all dependent upon local statutes or local

usages of a fixed and permanent operation,” Swift v. Tyson, 41 U.S. (16 Pet.) 1, 18-19 (1842).

       Perhaps because the question was not then deemed essential, in the pre-Erie era, the

Supreme Court never specifically “held that rights against the officer based on [unconstitutional

or statute-violating] behavior must be sought under state law.” Hill, supra, at 1124. In some cases,

the Supreme Court described the right at issue in terms that suggested the right originated in the

federal Constitution, not state tort law. See, e.g., Mitchell, 54 U.S. at 136 (citing an English case

holding an officer personally liable for property destroyed purportedly for military necessity and

stating “the rights of private property … are certainly not less valued nor less securely guarded

under the Constitution and laws of the United States”). More generally, when describing the

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principle that sovereign immunity did not shield federal officers from personal liability, the

Supreme Court did not specify that the officer’s personal liability was limited to that provided

under state law. See, e.g., Phila. Co. v. Stimson, 223 U.S. 605, 619–20 (1912) (“The exemption of

the United States from suit does not protect its officers from personal liability to persons whose

rights of property they have wrongfully invaded.”); Belknap v. Schild, 161 U.S. 10, 18 (1896)

(“But the exemption of the United States from judicial process does not protect their officers and

agents . . . from being personally liable to an action of tort by a private person whose rights or

property they have wrongfully invaded or injured, even by authority of the United States.”). Post-

Erie and pre-Bivens, the Supreme Court sometimes referred to state law as governing non-statutory

damages remedies against federal officers for wrongful official acts, but it did so in cases where it

was not clear that the federal official’s ultra vires acts violated the plaintiff’s constitutional rights.

See, e.g., Wheeldin v. Wheeler, 373 U.S. 647, 652 (1963) (“When it comes to suits for damages

for abuse of power, federal officials are usually governed by local law.”).

                    2. Bivens and the Westfall Act Preserved the Full Scope of Common Law
                       Remedies for Federal Officer Constitutional Violations within a Federal
                       Law Cause of Action.

        When the Supreme Court decided Bivens in 1971, it did so against the backdrop of this

unbroken line of cases recognizing that federal officers were routinely subject to personal damages

liability for unconstitutional conduct. The only question facing the Bivens Court was thus where a

right to sue federal officers for unconstitutional conduct should be located, not whether it should

exist: should the right to sue sound in state law only, or in federal law as well? No one argued that

there should be no remedy; issue was joined only on whether the state law remedy was inadequate

and should be supplemented by a federal remedy when constitutional violations by federal officials

were at stake. Bivens, 403 U.S. at 390 (“Respondents do not argue that petitioner should be entirely

without remedy for an unconstitutional invasion of his rights by federal agents.”). The federal

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government agreed that “[i]n America, as in England, government officers were to be subject to

the same common-law actions for damages as those applicable to private persons.” Br. for the

Resp’ts at 10, Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388

(1971) (No. 301), 1970 WL 136799. It simply argued that those actions should proceed only under

state law. Id.

        Indeed, Bivens can best be understood as validating a federal right to sue that builds on the

common law past and tailors the common law suit for use in a post-Erie world, thus obviating

some of the difficulties that stemmed from grounding the remedy for violations of the Constitution

in potentially inadequate and varying state laws. See James E. Pfander, Iqbal, Bivens, and the Role

of Judge-Made Law in Constitutional Litigation, 114 Penn St. L. Rev. 1387, 1415 (2010) (“Erie

created the very real possibility that in tort suits aimed at enforcing constitutional rights, both the

right to sue the federal official and the incidents of official liability would be governed by state

law.”); Vázquez & Vladeck, supra, at 541 (noting that the decision to frame remedial issues in

state law terms after Erie “tied” the federal courts to “state precedents” and prevented them from

taking account of “the federal interests involved, including the need to give efficacy to the

Constitution”). After Erie, when pushed to resolve the question whether a remedy arose under

federal law in addition to state tort law, the Bivens Court said yes, calling it “hardly . . . a surprising

proposition” because “[h]istorically, damages have been regarded as the ordinary remedy for an

invasion of personal interests in liberty.” Bivens, 403 U.S. at 395.

        Congress quickly accepted and ratified the Bivens remedy. In 1974, Congress amended the

Federal Tort Claims Act (FTCA) to add the federal government as a defendant in certain law-

enforcement tort suits, while making clear that any FTCA suit would operate in parallel with the

right to bring a suit for damages under Bivens. 28 U.S.C. § 2680(h); see Carlson v. Green, 446



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U.S. 14, 19–20 & n.5 (1980) (“[T]he congressional comments accompanying [the FTCA]

amendment made it crystal clear that Congress views FTCA and Bivens as parallel, complementary

causes of action.”); James E. Pfander & David Baltmanis, Rethinking Bivens: Legitimacy and

Constitutional Adjudication, 98 Geo. L.J. 117, 133 (2009) (noting that Congress rejected language

proposed by the Department of Justice that “would have eliminated the Bivens action altogether in

favor of suits against the government for constitutional violations”).

       Moreover, Congress has endorsed the importation of pre-existing common law remedies

(including those made available under state law) into the Bivens suit form. In 1988, responding to

a ruling recognizing the continued viability of state tort claims against federal officers, Westfall v.

Erwin, 484 U.S. 292 (1988), Congress passed the Westfall Act. Federal Employees Liability

Reform and Tort Compensation Act of 1988 (Westfall Act), Pub. L. No. 100-694, 102 Stat. 4563.

The Act made the FTCA the exclusive remedy for tort suits against federal officers and substituted

the federal government as defendant in those cases. But it preserved suits against officers in their

individual capacities if plaintiffs alleged “a violation of the Constitution of the United States,” 28

U.S.C. § 2679(b)(2)(A), thus leaving the Bivens regime intact. See H.R. Rep. No. 100-700 at 6

(1988), reprinted in 1988 U.S.C.C.A.N. 5945, 5949-50 (“Since the Supreme Court’s decision in

Bivens, . . . the courts have identified this type of tort as a more serious intrusion of the rights of

an individual that merits special attention. Consequently, [the Act] would not affect the ability of

victims of constitutional torts to seek personal redress from Federal employees who allegedly

violate their Constitutional rights.”); Anya Bernstein, Catch-All Doctrinalism and Judicial Desire,

161 U. Pa. L. Rev. Online 221, 223–30 (2013) (exploring the interplay of Westfall Act

transformation, substitution, and immunity).

       Those preserved claims for constitutional torts, moreover, would evidently include the full



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panoply of remedies available before the Westfall Act, whether they had been (before the Act)

brought under state law or under Bivens. Both in the text of the Act—which refers to “a civil action

… brought for a violation of the Constitution of the United States,” 28 U.S.C. § 2679(b)(2)(A),

not only a Bivens or federal law action—and in its legislative history, Congress made clear that

the Act did not narrow the claims available to plaintiffs. See H.R. Rep. No. 100-700, at 6 (stating

that the Act “would not affect the ability of victims of constitutional torts to seek personal redress

from Federal employees who allegedly violate their Constitutional rights”). Although those claims

may no longer be brought under state law after the Act, see Minneci v. Pollard, 132 S. Ct. 617,

623 (2012), the Act endorses a scope of Bivens that is at least as expansive as its common law past.

See Vázquez & Vladeck, supra, at 570–80; see also Pfander & Baltmanis, supra, at 122 (“T]he

Westfall Act supports our argument for the routine availability of Bivens claims.”). By specifically

preserving plaintiffs’ ability to sue for constitutional torts, Congress effectively chose the officer

suit, a remedy reflected in centuries of common law development, as the mechanism best suited to

remedy alleged constitutional tort violations.

                                              *****

       At bottom, this case raises no spectre of judicial expansion of a newly-begotten right. Nor

does the federal officer’s invocation of “national security” mean that this Court would be breaking

new ground in providing for a judicial remedy for excessive force. On the contrary, to refuse to

allow a Bivens remedy here would curtail a remedy that has been available since the very first days

of the Republic.




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                                     CONCLUSION

      The Court should deny Defendant Barr’s motion to dismiss.

Dated: November 30, 2020                 Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       On November 30, 2020, I electronically submitted the foregoing document with the clerk

of court for the U.S. District Court for the District of Columbia, using the electronic case filing

system of the court. I hereby certify that I have served counsel for all parties of record

electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                            /s/Hyland Hunt
                                                            Hyland Hunt
